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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
RIGOBERTO ARRIOLA,                                        :                                 1/11/2021
                                                          :
                                         Plaintiff,       :
                                                          :              20-CV-1962 (VSB)
                           -against-                      :
                                                          :                  ORDER
658-660 AMSTERDAM CORP., et al.,                          :
                                                          :
                                         Defendants. :
                                                          :
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VERNON S. BRODERICK, United States District Judge:

         Plaintiff filed this action on March 5, 2020, (Doc. 1), and filed an amended complaint on

August 5, 2020, (Doc. 15.) Plaintiff filed affidavits of service of the amended complaint on

Defendant 658-660 Amsterdam Corp. on August 27, 2020, (Doc. 24), on Defendant Gianmarco

Dimichele on October 15, 2020, (Doc. 26), and on Defendant Remo Biamonte on December 21,

2020, (Doc. 29.) The deadlines for Defendants to respond to Plaintiff’s complaint were

September 10, 2020, October 21, 2020, and January 7, 2021, respectively. (See Docs. 24, 26,

29.) To date, Defendants have not appeared or responded to the complaint. Accordingly, if

Plaintiff intends to seek a default judgment, he is directed to do so in accordance with Rule 4(H)

of my Individual Rules and Practices in Civil Cases by no later than January 25, 2021. If

Plaintiff fails to do so or otherwise demonstrate that he intends to prosecute this litigation, I may

dismiss this case for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).

SO ORDERED.

Dated:       January 11, 2021
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
